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                  EXHIBIT 1
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                                                  Court-Appointed Temporary Receiver for Link Motion Inc.
                                                  Pursuant to The Honorable Judge Victor Marrero of the
                                                  United States District Court, Southern District of New York
_____________________________________________________________________________________________
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VIA FAX (212) 805-6382 AND FEDEX
Hon. Victor Marrero
Suite 1040
United States Courthouse
500 Pearl Street
New York, New York 10007

May 2, 2020


     Re: Wayne Baliga v. Link Motion Inc. et al., 1:18-cv-11642 (S.D.N.Y.) (VM) (DCF)


Dear Honorable Judge Marrero,

       I write                 H       F          1, 2019 Order (ECF No. 26) to report on recent
material developments concerning L M           , I . ( LKM          C          ) and the state of
prosecution of the above-referenced matter.

       In the past number of months, the              P       R            C      ( PRC ) agent of
    R        ,L      G ( M.G )                                            , tremendous amounts of
manpower and monetary support to preserve and secure LKM assets and resist the efforts by
LKM                         , M. W             V         S ( M. S )            Mr. S          s to
obstruct     R             progress in China                                           O    . Mr.
G                     PRC                                 : (1) ing counsel for and successfully
defending                                              B                      LKM
representative, Xu Zemin, to revoke the recent registration of board members of the C
                               ( WFOE ), NQ Mobile (Beijing) Co., Ltd., under the mandate of the
Receiver; (2) attending a shareholder meeting on July 22, 2019 to serve Shi the Receivership
Order and discuss the operational aspects of the WFOE and the Company; (3) extensively
reviewing LKM corporate documents and conducting investigative work to prevent further
                   LKM                       frauds from being committed against the Company. In
addition, I would                      C                        issues concerning China AI Capital
L        ( China AI ), a company incorporated in the British Virgin Islands, that is seeking to
intervene as a plaintiff in the New York litigation.
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    I.       China AI Has Connections To Mr. Shi, And China AI’s Acquisition Of LKM
             Shares Implicates Shi

       I have been advised by Mr. Guo, that, as a result of his investigation in the PRC, he has
uncovered evidence that Shi is directly connected to China AI. For example, M . Y B           L
( M . L ) had previously served as Vice Chairman of LKM from 2010 to 2015. After Mr. Li
resigned from LKM, he founded HH-Medic, Inc., a company incorporated in Cayman Islands with
operations in Beijing. Ex. A, Declaration of Lingyun G ( G D . ) at ¶6. Prior to 2017, Mr.
Shi had invested in HH-Medic, Inc. using LKM funds. Id. LKM currently owns 11.429% of HH-
Medic, Inc. Id.

        Additionally, the events surrounding how China AI became an LKM shareholder have been
corroborated by existing suspicions about the relationship between China AI and Shi. On July 19,
2018, China AI became a shareholder of LKM by entering into a Subscription Agreement with the
Company.1 Under the Subscription Agreement, China AI purchased LKM Class B common shares
for $20 million. Importantly, Class B common shares hold ten times the voting power of Class A
common shares (                       ,     C     BS        T            ).2 Upon the execution of
the Subscription Agreement, Mr. Li and M . R        L      C ( M . C ) were both given board
seats on LKM            . Guo Decl. at ¶4. Notably, at the time of the Class B Shares Transaction,
LKM had no need for such a financial investment and the transaction had no legitimate business
purpose other than to provide Shi and his associates with additional board seats and voting power
over LKM Guo Decl. at ¶5.

         U     C       AI                  S            A         , Mr. Li and Mr. Chi each held
50% of China AI shares.3 However, after only six months, on January 6, 2019, Mr. Chi transferred
all the shares to Li, giving Li 100% control of China AI.4 Accordingly, by late 2018, at or around
the time of Shi s alleged fraudulent transfers of LKM                 LKM, LKM                V
Chairman was the sole shareholder of China AI.

    II.      Evidence Demonstrates That Shi Engineered China AI’s Acquisition Of LKM
             Shares To Control LKM’s Board

        The evidence secured and provided to me by Mr. Guo demonstrates that Mr. Shi engineered
the sale of LKM C         B shares to his close associates through China AI in order to illegally
secure greater power over LKM board and control the Company through the additional voting
power of the Class B shares. Indeed, there is no other credible explanation why LKM, then valued
at hundreds of millions of dollars, would willingly transfer so much control of LKM to a third
party for a payment of only $20,000,000, half of which was never paid, as set forth further below.



1
  Subscription Agreement can be found at
https://www.sec.gov/Archives/edgar/data/1509986/000114420418045933/tv501523_ex99-3.htm.
2
  See Press Release dated July 19, 2018, available at
https://www.sec.gov/Archives/edgar/data/1509986/000114420418039211/tv498986_ex99-1.htm.
3
  C      AI
https://www.sec.gov/Archives/edgar/data/1509986/000114420418045997/tv500832_sc13d.htm.
4
  See https://www.sec.gov/Archives/edgar/data/1509986/000114420419000755/tv510475_sc13da.htm.


                                                    2
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        In addition, after                                          R
parties, it appears that LKM intentionally excluded Skadden, Arps, Slate, Meagher & Flom LLP
( S        n Arps ), LKM                at the time of the Class B Shares Transaction, from the
transaction. Indeed, it appears that Skadden Arps was unaware that the transaction had even taken
place. When Skadden Arps eventually learned of the transaction a day after the board meeting,
which approved the issuance of super-voting Class B ordinary shares to China AI, Skadden Arps
objected to the transaction, expressing concern that it lacked a legitimate business purpose and that
it was not in the best interest of the Company. See Ex. B, S             E        LKM B        D
July 19, 2018. It bears highlighting that Skadden Arps resigned shortly after LKM Board
approved this transaction.

        Further evidence provided to the Receivership demonstrates that the Class B Shares
Transaction was made for the purpose of providing Shi additional control over LKM            . To
date, China AI has not fully paid for the Class B shares. The Subscription Agreement referenced
in the press release dated July 19, 2018 called for an initial payment of $10 million by China AI
upon the execution of the Subscription Agreement, with the remaining $10 million scheduled to
be paid on or before September 19, 2018.5 On September 25, 2018, LKM announced that, due to
accounting and disclosure reasons and needing more time to satisfy the closing conditions, LKM
and China AI had agreed to extend the closing date of the remaining $10 million payment to
November 19, 2018.6 Nearly two years later, the remaining $10 million has still not been paid; to
date, the Company has also not satisfied the closing conditions.

        The Receivership team, including Mr. Guo, has analyzed LKM financial records
            C      AI                 LKM. In connection with this analysis, the Receivership has
found that the only payment ever made pursuant to the Class B Shares transaction was a payment
for $7,500,000 transmitted from China AI and its principals to LKM, a portion of which was paid
by HH-Medic, Inc, the company owned and controlled by Mr. Li. See Ex. C, China AI Payment.
Notably, HH-Medic, Inc. appears to be within the LKM corporate structure. Moreover, based on
evidence uncovered by Mr. Guo, it appears that Mr. Shi orchestrated and coordinated payment
from HH-Medic, Inc., (an entity of which Shi maintained control) to LKM for the purchase of the
Class B shares. The evidence provided by Mr. Guo suggests that Shi engaged in this fraudulent
related party transaction for the purpose of securing additional control over the Board of LKM so
he could perpetuate the fraudulent scheme that is at the core of this case.

        Furthermore, it remains unclear how much China AI ever paid for its Class B shares and
why LKM has allowed China AI to not pay for those shares in full. For example, LKM Cayman
Islands shareholder registry provides China AI Capital Limited 50% Full paid; 50% Nil paid,
indicating that China AI, at most, has paid for only half of the $20 million owed in connection
with the Class B Shares Transaction. Ex. D, LKM Shareholding Registry. Disturbingly, on July
19, 2018, the day of the Class B Shares Transaction, while China AI made a payment of $5,000,000
to LKM in connection with the sale of those shares, LKM sent $9.9 million to an unknown bank
account in Luxembourg. See Ex. C and Ex. E, Luxembourg Transaction.



5
    Supra note 2.
6
    See https://www.sec.gov/Archives/edgar/data/1509986/000114420418050650/tv503419_ex99-1.htm.


                                                      3
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    III.     Shi Stated He Intended To Obstruct The Receiver

        Further demonstrating Mr. Shi                and ties to China AI, Shi expressly represented
to Mr. Guo that he intended to obstruct the Receivership. Specifically, on July 22, 2019, while
attending in China a shareholder meeting for Beijing NQ Technology Co., Ltd., Ltd., the operating
PRC entity of LKM, a meeting called by Ms. Lingyun Guo,7 Mr. Shi told Mr. Guo that he would
fight the Receivership in New York Federal Court. Guo Decl. at ¶9, 10. Notably, while Shi was
           P                                                           , China AI appeared in this
action for the first time and moved to intervene. See ECF No. 111. Notably, Mr. Shi did not object
   C      AI            . ECF No. 114.

       Additionally, within China, Mr. Shi has commenced various civil and administrative
proceedings against Mr. Guo in an attempt to circumvent the Orders of this Court, including
attempting to obstruct the proper registration of the new legal representatives of the WFOE entity
inside the PRC. 8 In addition, Shi has engaged in alleged criminal activities, including the
unauthorized and illegal removal of the C              books and records to an undisclosed location
and refusing to disclose such location or turn over the books and records upon request by the Court
Appointed Receiver, Mr. Guo or employees of the Company. Guo Decl. at ¶11-13.

    IV.      LKM Corporate Governance Documents Demonstrate The Connection Between
             China AI and Mr. Shi

        According to     C           A          A             , Class B shares can be issued to only
LKM founders or their affiliates. Specifically, the language regarding Class B shares calls for
                              C    AC           S         if the holder of Class B shares transfers
          any person or entity which is not an Affiliate of such holder, a Founder or a Founder's
Affiliate. Ex. F, C            A         A             at 15.

         Accordingly, as a holder of Class B shares, China AI is either S                affiliate. 9
Indeed, if China AI were neither, its Class B shares would have been automatically converted to
Class A shares, pursuant                       C           A            A          . Because China
AI still holds its Class B shares, Mr. Shi and China AI are effectively admitting that China AI and
Mr. Shi are either one in the same or that China AI is Mr. Shi            .

        In the alternative, if for whatever reasons C    AI                      M . S , then it
is not entitled to hold Class B shares. Accordingly, China AI cannot represent itself to be a super
voting Class B share shareholder.

        Critically, China AI has filed a motion to intervene as a plaintiff in the matter. If China AI
is in fact an affiliate of Mr. S ,       , by seeking to intervene, China AI is likely attempting to
                         S                             . A                   S ,C         AI

7
  Note that Ms. Lingyun Guo and Mr. Lilin Guo are not related despite having the same surname.
8
  The Receiver will submit a separate letter detailing the obstructive proceedings in the PRC to the Court.
9
  A                C           A            A          ,    A                                ect to any specified
Person, any other Person that directly, or indirectly through one of more intermediaries, controls or is controlled by,
                           ,                       P      [. Ex. F at 4.


                                                           4
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no legitimate interest in this action. Neither Shi nor China AI has ever disclosed its affiliation to
the Court.

        For these reasons, China AI should be compelled to disclose its ownership and any
relationships, direct or indirect, it has or has ever had with Mr. Shi before any motion to intervene
is decided. Specifically, China AI, Mr. Li , Mr. Chi, and Mr. Shi should be required to clarify the
following issues:

       1. Whether Mr. Chi, Mr. Li and China AI are affiliated with or controlled by Mr. Shi, and
           what was the source of funds for the transaction between China AI and LKM;
       2. Whether LKM issuance of Class B shares to Mr. Li and China AI obtained valid
           approval from LKM board of directors, and provide any and all board meeting
           minutes, voting rolls, and affirmations from the directors who participated;
       3. Why LKM needed C             AI investment or the legitimate business purpose for why
           the Class B Shares Transaction was entered into by LKM;
       4. Whom Mr. Li contacted to consummate the Class B Shares Transaction;
       5. D                    C      AI                     S ,              C      AI C       B
           shares have never been converted to Class A shares;
       6. The amount of investments and loans China AI obtained from LKM, a detailed
           accounting of the transaction transmissions and/or a reconciliation of the cancelation
           of any issued shares per the Subscription Agreement;
       7. W          C      AI                 in LKM shareholder registry has been fully paid,
           and if so, proof that such payment has been made;
       8. Detailed reason for Mr. Chi to be paid $1,320,980 from LKM on December 28, 2017;
       9. As former Co-Chairman of the Board of Directors, a statement from Mr. Chi as to his
           involvement in the matters in front of the court;
       10. A                       C                                        ,S          A
           their involvement in the review of the transaction; and
       11. A statement fr      M.S                                              , DLA P
           how they were involved in the review on behalf of the company, while representing
           M .S                  .

       Due to reason stated above, I, the court-appointed Receiver, reserve the right to seek
appropriate remedies from the Court to address the contemptuous behavior of the related Company
     ,         W         S ,R L           C ,Y B            L      C      AI.

Respectfully submitted,


Robert W. Seiden, Esq.
Court-Appointed Temporary Receiver for Link Motion Inc.




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